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 8
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10
                                  IN THE UNITED STATES DISTRICT COURT
11
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                             OAKLAND DIVISION
13

14
      UNITED STATES OF AMERICA,                             Case No.: CR 17–22 JSW
15
                     Plaintiff,                             DEFENDANT’S REPLY TO
16                                                          GOVERNMENT’S RESPONSE TO
              v.                                            MOTION FOR COMPASSIONATE
17                                                          RELEASE AND [PROPOSED] ORDER
      QUINCY KRASHNA,                                       GRANTING COMPASSIONATE
18
                                                            RELEASE
                     Defendant.
19                                                          Court:           Courtroom 5, 2nd Floor
20                                                          Hearing Date:    June 16, 2020
                                                            Hearing Time:    1:00 p.m.
21
           The government does not oppose Quincy Krashna’s motion to reduce his term of imprisonment
22
     to time served (Dkt. 40), but requests the Court stay the order granting release until June 18; order
23
     that Mr. Krashna be quarantined for two weeks prior to his release; impose, as a condition of release,
24
     home confinement until September 5, 2020; and impose, as a condition of release, that Mr. Krashna
25
     must abide by all court orders. Dkt. 47. Mr. Krashna, through counsel, does not oppose the
26
     government’s requests except to the extent that proposed conditions of release unduly restrict his
27
     right to familial association or are unconstitutionally vague. See United States v. Domingeuz, No. 18-
28

     REPLY AND [PROPOSED] ORDER GRANTING COMPASSIONATE RELEASE
     KRASHNA, CR 17–22 JSW
                                                        1
              Case 4:17-cr-00022-JSW Document 48 Filed 06/03/20 Page 2 of 4



 1   50360, 2020 WL 2844530, at *2 (9th Cir. June 1, 2020) (vacating special conditions of release
 2   implicating defendant’s right to familial association); United States v. Hall, 912 F.3d 1224, 1226–27
 3   (9th Cir. 2019) (per curiam).
 4         Additionally, if Santa Rita Jail is unable to quarantine Mr. Krashna for the full two-week period
 5   prior to June 18, Mr. Krashna should be permitted to satisfy his two-week self-quarantine at home.
 6   See United States v. Fischman, No. 16-CR-00246-HSG-1, 2020 WL 2097615, at *3 (N.D. Cal. May
 7   1, 2020) (permitting defendant to satisfy 14-day self-quarantine requirement at home).
 8

 9

10   Dated:      June 3, 2020                               Respectfully submitted,

11                                                          STEVEN G. KALAR
                                                            Federal Public Defender
12                                                          Northern District of California

13                                                                    /S
                                                            JOYCE LEAVITT
14                                                          Assistant Federal Public Defender
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     REPLY AND [PROPOSED] ORDER GRANTING COMPASSIONATE RELEASE
     KRASHNA, CR 17–22 JSW
                                                        2
             Case 4:17-cr-00022-JSW Document 48 Filed 06/03/20 Page 3 of 4



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 3                                IN THE UNITED STATES DISTRICT COURT
 4                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                           OAKLAND DIVISION
 6

 7    UNITED STATES OF AMERICA,                              Case No.: CR 17–22 JSW
 8                   Plaintiff,                              [PROPOSED] ORDER GRANTING
                                                             COMPASSIONATE RELEASE
 9            v.
                                                             Court:            Courtroom 5, 2nd Floor
10    QUINCY KRASHNA,
11                   Defendant.
12
           For good cause shown, the Court hereby GRANTS the motion for compassionate release. See
13
     Dkt. 40. Quincy Krashna’s sentence of imprisonment is modified to time served, effective on June
14
     18, 2020. Mr. Krashna’s custodian at Santa Rita Jail shall place Mr. Krashna in quarantine on or
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     before June 5, 2020, so that Mr. Krashna may serve a 14-day period of quarantine before his release.
16
     Mr. Krashna is to be released from custody on June 18, 2020. The government shall serve a copy of
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     this Order on Santa Rita Jail immediately.
18
           Mr. Krashna shall complete the three-year term of supervised release imposed in the original
19
     sentence subject to the original conditions, see Dkt. No. 37, except Standard Condition No. 8
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     (requiring at least part-time employment), and with the following additional special conditions:
21
               •   Mr. Krashna shall be subject to home confinement, without electronic monitoring, at his
22
                   home in Albany, California, until September 5, 2020. Mr. Krashna may only leave his
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                   residence for necessary medical services or for necessities like toiletries or groceries,
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                   with the prior approval of the Probation Office, except in the case of medical
25
                   emergencies.
26
               •   Mr. Krashna shall be abide by all court orders.
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     [PROPOSED] ORDER GRANTING COMPASSIONATE RELEASE
     KRASHNA, CR 17–22 JSW
                                                         1
              Case 4:17-cr-00022-JSW Document 48 Filed 06/03/20 Page 4 of 4



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 4               IT IS SO ORDERED.

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 6   Dated:      ______________
                                                           JEFFREY S. WHITE
 7                                                         United States District Judge
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     [PROPOSED] ORDER GRANTING COMPASSIONATE RELEASE
     KRASHNA, CR 17–22 JSW
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